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              9                               UNITED STATES DISTRICT COURT

             10                              EASTERN DISTRICT OF CALIFORNIA

             11                                  SACRAMENTO DIVISION

             12   UNITED STATES OF AMERICA,                   Case No. 2:17-CR-00006-MCE

             13                 Plaintiff,                    JOINT STIPULATION AND [PROPOSED]
                                                              ORDER REMOVING CONDITIONS AND
             14          v.                                   SUPERVISION OF DEFENDANT INES
                                                              CROSBY
             15   JOHN A. CROSBY, INES S. CROSBY, and
                  LESLIE A. LOHSE,                            Hon. Edmund F. Brennan
             16
                                Defendants.                   Date Filed: January 5, 2017
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                                                              Trial Date: September 30, 2019
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                      JOINT STIPULATION AND [PROPOSED] ORDER REMOVING CONDITIONS AND SUPERVISION
                                                OF DEFENDANT INES CROSBY
                                                  Case No. 2:17-CR-0006-MCE
1285155.01
                    Case 2:17-cr-00006-JAM Document 66 Filed 06/12/18 Page 2 of 3

              1          IT IS HEREBY STIPULATED between plaintiff, United States of America, and

              2   Defendant Ines S. Crosby, through their respective attorneys, that Ms. Crosby’s pre-trial

              3   supervision should be terminated and that she should remain out of custody on the presently set

              4   $150,000 unsecured appearance bond. As a condition of her pretrial release, Ms. Crosby shall

              5   comply with all federal, state, and local laws. This stipulation was approved by Pretrial Services

              6   Officer Renee Basurto.

              7          On January 19, 2017, the Court ordered Ms. Crosby released on conditions of pre-trial

              8   supervision and a $150,000 unsecured appearance bond. (ECF Nos. 17 and 21.) Ms. Crosby has

              9   remained on pre-trial supervision since that time without incident. Based on the foregoing, the

             10   parties stipulate that Ms. Crosby’s pre-trial supervision should be terminated, she be ordered

             11   released on the presently set $150,000 unsecured appearance bond, and that condition number six,

             12   governing her passport, should remain in effect.

             13    Dated: June 8, 2018                                     KEKER, VAN NEST & PETERS LLP
             14

             15                                                      By:   /s/ Benedict Y. Hur
                                                                           BENEDICT Y. HUR
             16
                                                                           Attorneys for Defendant
             17                                                            INES S. CROSBY

             18
                   Dated: June 8, 2018
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             20                                                      By:   /s/ Todd A. Pickles (with permission)
                                                                           TODD A. PICKLES
             21
                                                                           Attorneys for Plaintiff
             22                                                            UNITED STATES OF AMERICA
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                       JOINT STIPULATION AND [PROPOSED] ORDER REMOVING CONDITIONS AND SUPERVISION
                                                 OF DEFENDANT INES CROSBY
                                                   Case No. 2:17-CR-0006-MCE
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                    Case 2:17-cr-00006-JAM Document 66 Filed 06/12/18 Page 3 of 3

              1
                                                                ORDER
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              3      The Court, having read and considered the parties’ stipulation, that Ines S. Crosby’s pre-trial

              4   supervision be terminated, hereby orders that she be remain released on the presently set

              5   $150,000 unsecured appearance bond, and that condition number six of her conditions of pre-trial

              6   release, concerning her passport, shall remain in effect. As a condition of her pretrial release, Ms.

              7   Crosby shall comply with all federal, state, and local laws.

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              9   DATED: June 11, 2018                                   ____________________________________
                                                                         Hon. Edmund F. Brennan
             10                                                          United States Magistrate Judge
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                        JOINT STIPULATION AND [PROPOSED] ORDER REMOVING CONDITIONS AND SUPERVISION
                                                  OF DEFENDANT INES CROSBY
                                                    Case No. 2:17-CR-0006-MCE
1285155.01
